“AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
TRACY RYAN FOURNIER Case Number: CR 15-4090-1-LTS
C1 Revocation of Probation USM Number: — 09384-091
HE Revocation of Supervised Release Christopher J Roth
[1 Modification of Supervision Conditions Defendant's Attomey

O AMENDED REVOCATION JUDGMENT
Date of Most Recent Judgment:

THE DEFENDANT:
HB admitted guilt to violation(s) as listed below of the term of supervision.
C1 was found in violation of after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation Violation Ended

1 Failure to Allow Probatio nOfficer Visit 09/09/2020

2 Failure to Participate in Substance Abuse Treatment 09/03/2020

3 New Law Violation 10/16/2020

The defendant is sentenced as provided in pages 2 through 3 __ of this judgment. The sentence is imposed pursuant to the

Sentencing Reform Act of 1984.

C1] The defendant was not found in violation of and is discharged as to such violation(s).

[] The Court did not make a finding regarding violation(s)

It is ordered that the defendant must notify the United States Attorney for this ee 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by thjs judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in économic circumstances.

XY | |
Leonard T. Strand \ ft
Chief United States District Court Judge nf IX /
Name and Title of Judge Signature of Judge
January 6, 2022 | lé Pie:
P|

Date of Imposition of Judgment Date

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DEFENDANT: TRACY RYAN FOURNIER
CASE NUMBER: CR 15-4090-1-LTS

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PROBATION

The defendant’s supervision is continued with the addition of special condition number(s):

IMPRISONMENT

No imprisonment is ordered as part of this modification.

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 24 months.

The court makes the following recommendations to the Federal Bureau of Prisons:

It is recommended that the defendant be designated to FCI Dublin or a Bureau of Prisons facility in close proximity to
the defendant's family which is commensurate with the defendant's security and custody classification needs.

The defendant is remanded to the custody of the United States Marshal.

The defendant must surrender to the United States Marshal for this district:

CD at Oam OJpm._ on
C) as notified by the United States Marshal.

The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:
CO before 2 p.m. on

C as notified by the United States Marshal.

J as notified by the United States Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

Defendant delivered on to

at

with a certified copy of this judgment.

UNITED STATES MARSHAL

By

DEPUTY UNITED STATES MARSHAL

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SUPERVISED RELEASE

a Upon release from imprisonment, No Term of Supervised Release is reimposed.

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